  Case 19-23970       Doc 34   Filed 12/07/20 Entered 12/08/20 07:44:25                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )                BK No.:     19-23970
Bushra S David                                )
                                              )                Chapter: 13
                                              )
                                                               Honorable David D. Cleary
                                              )
                                              )
               Debtor(s)                      )

                   ORDER MODIFYING THE PLAN POST CONFIRMATION

       THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court
having jurisdiction, with due notice having been given to all parties in interest, the Court orders as
follows:


  IT IS SO ORDERED:

  1. The Debtor is allowed to keep all of the 2019 tax refund and the turnover requirement for 2019 is
waived.




                                                           Enter:


                                                                    Honorable David D. Cleary
Dated: December 07, 2020                                            United States Bankruptcy Judge

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